              Case 1:03-cr-05220-AWI Document 293 Filed 10/25/05 Page 1 of 4



 1   ANTHONY P. CAPOZZI, CSBN 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, CA 93711
 3   Telephone: (559) 221-0200
     Fax: (559) 221-7997
 4   E-mail: capozzilaw@aol.com
 5   Attorney for Defendant,
     SALAMEH RASHID
 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA, FRESNO
10                                          * * * * *
11
                                               ) Case No.: CR-F-03-5220 OWW
12   UNITED STATES OF AMERICA,                 )
                                               ) DEFENDANT’S REQUEST TO LEAVE
13                Plaintiff,                   ) COUNTRY
                                               )
14        vs.                                  )
     SALAMEH RASHID,                           )
15                                             )
                  Defendant.                   )
16                                             )
17

18        Defendant, SALAMEH RASHID, by and through his attorney, Anthony
19   P. Capozzi, respectfully asks this Court for his passport to be
20   returned        and   for   permission    to      temporarily     leave     the    Eastern
21   District of California and the United States from November 10, 2005
22   to December 1, 2005.
23        Mr.     Rashid     respectfully     makes     this   request    so     that   he   may
24   travel     to    Deir    Debwan,   Palestine,       where   his     niece    is    getting
25   married.        Deir Debwan is located on the West Bank of Israel.                      His
26   niece is the daughter of his sister.                Mr. Rashid will be staying at
27   the home of his sister and telephone number is 011-9-722-289-6588.
28

                                               - 1 –
                                                                          Defendant’s Request to
                                                                                   Leave Country
             Case 1:03-cr-05220-AWI Document 293 Filed 10/25/05 Page 2 of 4



 1        Mr. Rashid will be traveling to Deir Debwan with his daughter,
 2   Sammar Rashid.      After his niece’s wedding, the Mr. Rashid and his
 3   daughter will be returning their home, here in the United States.
 4   Mr. Rashid’s daughter, Meisa and his wife, Shoukrie, will be not be
 5   traveling to the wedding.
 6        Mr. Rashid is a naturalized U.S. citizen and his two daughters
 7   are citizens by right of birth in this country.              The Rashid family
 8   has established a life in the Fresno area and do not intend to
 9   abandon their family and friends who live in the area and their
10
     business, which they have worked long and hard to establish.
11
          Mr. Rashid has been under the supervision of Pretrial Services
12
     for two years with a $350,000.00 property bond.                 Mr. Rashid has
13
     complied with all of the conditions of his release under the bond,
14
     and with all the requests made of him by Pretrial Services, and
15
     Pretrial Services has no objection to this request.
16
     / / /
17
     / / /
18
     / / /
19

20

21

22

23

24

25

26

27

28

                                           - 2 –
                                                                  Defendant’s Request to
                                                                           Leave Country
              Case 1:03-cr-05220-AWI Document 293 Filed 10/25/05 Page 3 of 4



 1                                            CONCLUSION
 2        Mr. Salameh Rashid and his family have significant ties to the
 3   community.          In     addition,    Mr.        Rashid    has    posted       a   $350,000.00
 4   property     bond     to    assure     his    compliance         with    the     conditions      of
 5   release that specifically requires his attendance before this Court.
 6        Mr.     Rashid’s       nieces’    wedding        is    an   important        event    in   his
 7   family and it is respectfully requested that he be allowed to attend
 8   the wedding ceremonies from November 10, 2005 through December 1,
 9   2005.
10        Mr.     Rashid      will   return       his    passport       to   the     court   upon    his
11   return to the United States.
12

13   Dated:     October 13, 2005
                                                              /s/ Anthony P. Capozzi
14
                                                         Anthony P. Capozzi,
15                                                       Attorney for Defendant,
                                                         Salameh Rashid
16

17

18

19

20

21

22

23

24

25

26

27

28

                                                   - 3 –
                                                                                   Defendant’s Request to
                                                                                            Leave Country
              Case 1:03-cr-05220-AWI Document 293 Filed 10/25/05 Page 4 of 4


                                            ORDER
 1

 2

 3
          Good     cause   having    been   shown,   Mr.   Rashid’s    conditions     of

 4   release shall be modified to allow him to travel to Deir Debwan,

 5   Palestine, to attend the wedding of his niece.                Mr. Rashid shall

 6
     leave the Eastern District of California on November 10, 2005 and

 7
     return on December 1, 2005.

 8
          Mr. Rashid’s passport shall be returned by the court to all him

 9   to travel for the purposes of this trip.              Mr. Rashid shall return

10
     the passport to the court upon his return to the Eastern District of

11
     California.

12
     Dated:       October _24__, 2005
13
                                               /s/ OLIVER W. WANGER
14
                                               Honorable Oliver W. Wanger
15                                             U.S. District Court Judge
16

17

18

19

20

21

22

23

24

25

26

27

28

                                            - 4 –
                                                                   Defendant’s Request to
                                                                            Leave Country
